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                                              May 8, 2025
Honorable Derek Gilliland
United States Magistrate Judge
800 Franklin Avenue
Waco, Texas 76701

           Re:    SBI Crypto Co., LTD v. Whinstone US, Inc., Case No. 6:23-CV-00252-ADA-JCM, in
                  the United States District Court for the Western District of Texas—Waco Division

Dear Judge Gilliland,

        Pursuant to the Court’s Order on May 2, 2025 Discovery Disputes (ECF No. 77), the Court asked
Plaintiff Crypto Co., Ltd. (“SBI”) and Defendant Whinstone US, Inc. (“Whinstone”) to “meet and confer
on existing deadlines and submit their proposed schedules to the Court by 5:00 p.m. on May 9, 2025.
While the parties have met and conferred, SBI has not determined whether it will seek leave to amend
to include additional parties and/or claims. This threshold issue will materially impact scheduling
deadlines and the trial date. The parties jointly file a proposed order contemporaneously with this letter
that suspends all deadlines and continues the trial date set forth in the Fourth Amended Scheduling Order
(ECF No. 64) and sets forth the parties’ respective briefing deadlines and a date certain for the parties
to submit a scheduling order once a decision on leave has been entered.

        Separately, the parties have agreed to a translation protocol and are in the process of agreeing to
a translator.

           Should the Court require any additional information or a status conference, please do not hesitate
to ask.

                                                          Sincerely,


                                                          FOLEY & LARDNER LLP


                                                          Robert T. Slovak

cc: All counsel of record



Agreed: /s/Joshua Sandler (with permission)
        Joshua Sandler
        Counsel for SBI Crypto Co., LTD

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